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                         IN THE UNITED STATES DISTRICT COURT
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                          IN AND FOR THE DISTRICT OF ARIZONA
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     Ivaylo Tsvetanov Dodev,                           No. 2:13-CV-02155-DLR
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                   Plaintiff,
11                                                     [PROPOSED]
            v.                                         ORDER
12
     ReconTrust Company, N.A.; Select Portfolio
13   Servicing, Inc.; The Bank of New York             (Hon. Douglas L. Rayes)
     Mellon, Corporation, FKA The Bank of New
14   York; Bank of America, N.A., successor of
     Countrywide Home loans, Inc.; Real Time
15   Resolutions, Inc.; and Does 1-100, in his/her
     individual and official capacity,
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                   Defendants.
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            The Court, having considered Defendants Bank of America, N.A. and ReconTrust
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      Company, N.A.’s Motion for Attorneys’ Fees (Doc. __) (“Motion”), and good cause
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      appearing,
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            IT IS HEREBY ORDERED that the Motion is granted whereby awarding
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      attorneys’ fees to Defendants Bank of America, N.A. and ReconTrust Company, N.A. in
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      the amount of $85,430.55.
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